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                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov


    In re:                                                                               Case No.: 21-17203

    340 BISCAYNE OWNER LLC                                                               Chapter 11

               Debtor.

                                                                    /

                         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

               Undersigned counsel hereby files his appearance as counsel for AGUAMARINE

    SERVICES CORP., BH DOWNTOWN MIAMI, LLC, GILBERTO BOMENY and LILIAN DE

    MELLO BOMENY in connection with the above matter and in accordance with Fed. R. Bankr. P.

    2002, and requests that all parties and interested parties serve copies of any and all motions,

    pleadings, reports, and/or documents of any kind or nature filed in these proceedings, upon the

    undersigned.

               In addition, it is respectfully requested that pursuant to Fed. R. Bankr. P. 2002(g), the

    following should be added to the Court’s Mailing Matrix:

                                                 Geoffrey S. Aaronson, Esq.
                                                  Florida Bar No. 349623
                                                Aaronson Schantz Beiley P.A.
                                                    One Biscayne Tower
                                             2 South Biscayne Blvd., Suite 3450
                                                   Miami, Florida 33131
                                                     Tel. 786.594.3000
                                                     Fax 305.424.9336
                                              E-Mail: gaaronson@aspalaw.com
                                         Secondary E-mail: lbenavides@aspalaw.com

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Aaronson Schantz Beiley P.A. | One Biscayne Tower, Suite 3450 | 2 S. Biscayne Blvd. | Miami, Florida 33131 | 786.594.3000 | Fax 305.424.9336
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                                                                                         Respectfully submitted,
                                                                                         Aaronson Schantz Beiley P.A

                                                                                         s/Geoffrey S Aaronson
                                                                                         Geoffrey S Aaronson, Esq.
                                                                                         Fla Bar No.: 349623
                                                                                         Aaronson Schantz Beiley P.A.
                                                                                         One Biscayne Tower
                                                                                         2 South Biscayne Blvd., Suite 3450
                                                                                         Miami, Florida 33131
                                                                                         Tel. 786.594.3000
                                                                                         Fax 305.424.9336
                                                                                         gaaronson@aspalaw.com



                                                  CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing will be furnished through the
    Court’s CM/ECF system on August 30, 2021 via e-mail to all CM/ECF electronic notice parties
    of record.


                                                                                         s/Geoffrey S Aaronson
                                                                                         Geoffrey S Aaronson




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Aaronson Schantz Beiley P.A. | One Biscayne Tower, Suite 3450 | 2 S. Biscayne Blvd. | Miami, Florida 33131 | 786.594.3000 | Fax 305.424.9336
